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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

  CONTINENTAL 332 FUND, LLC,
  CONTINENTAL 298 FUND LLC,
  CONTINENTAL 306 FUND LLC,
  CONTINENTAL 326 FUND LLC,
  CONTINENTAL 347 FUND LLC,
  CONTINENTAL 355 FUND LLC,
  CONTINENTAL 342 FUND LLC and
  CONTINENTAL 245 FUND LLC,

                Plaintiffs,

  v.                                                 Case No: 2:17-cv-41-FtM-38MRM

  DAVID ALBERTELLI, ALBERTELLI
  CONSTRUCTION INC.,
  WESTCORE CONSTRUCTION,
  LLC, NATIONAL FRAMING, LLC,
  MFDC, LLC, TEAM CCR, LLC,
  BROOK KOZLOWSKI, JOHN
  SALAT, KEVIN BURKE, KERRY
  HELTZEL, AMY BUTLER, US
  CONSTRUCTION TRUST,
  FOUNDATION MANAGEMENT,
  LLC, KMM CONSTRUCTION, LLC,
  WESTCORE CONSTRUCTION,
  L.L.C. and GEORGE ALBERTELLI,

                Defendants.
                                            /

                                  OPINION AND ORDER1



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  websites. These hyperlinks are provided only for users’ convenience. Users are
  cautioned that hyperlinked documents in CM/ECF are subject to PACER fees. By
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  not affect the opinion of the Court.
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           This matter comes before the Court on motions to dismiss filed by Defendants

  David Albertelli (“David”) and Albertelli Construction, Inc. (“ACI”) (Doc. 130), George

  Albertelli (“George”) (Doc. 135), Amy Butler (“Butler”) (Doc. 136), Kevin Burke (“Burke”),

  Foundation     Management,      LLC (“Foundation”),     Kerry Heltzel (“Heltzel”), KMM

  Construction, LLC (“KMM”), Brook Kozlowski (“Kozlowski”), National Framing, LLC

  (“National”), John Salat (“Salat”), Team CCR, LLC, US Construction Trust, Westcore

  Construction, LLC (“Westcore I”), and Westcore Construction L.L.C. (“Westcore II”) (Doc.

  137), and a Motion for Joinder filed by David and ACI (Doc. 138). Plaintiffs responded in

  opposition on May 9, 2018. (Doc. 143). This matter is ripe for review.

                                        BACKGROUND

  A.       Substantive Background

           This case concerns an alleged pattern of fraud committed by a group of interrelated

  individuals and corporations on apartment construction projects around the country.

  Plaintiffs are funds created to bankroll the apartment construction projects. (Doc. 117 at

  ¶¶ 16(a)-(h)). They are managed by Continental Properties (“Continental”). (Doc. 117 at

  ¶¶ 3, 17). Defendants George Albertelli and his son David Albertelli (collectively, the

  “Albertellis”)2 own ACI, which is a commercial construction company. (Doc. 117 at ¶ 1,

  18). George also has an ownership interest in MFDC, a shell company. (Doc. 117 at ¶

  19, 24). David controls or owns

       •   Foundation, a shell company;

       •   KMM, a subcontracting company;




  2 For simplicity’s sake, the Court will refer to the Albertelli father and son Defendants by
  their first names. All other individual Defendants will be referred to by their last names.



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      •   National, a subcontracting company;

      •   Team CCR, LLC, a subcontractor;

      •   Westcore I, a general contractor; and

      •   Westcore II, a shell company.

  (Doc. 117 at ¶ 820, 121, 134-35, 153). David is also the trustee and beneficiary of US

  Construction, which owns part of Westcore I. (Doc. 117 at ¶ 20).

          Brooke Kozlowski is an officer and owner of ACI, Foundation, Westcore I, and

  Westcore II. (Doc. 117 at ¶ 21). Amy Butler was or is ACI’s accounting manager. (Doc.

  117 at ¶ 26). Kevin Burke is the Chief Financial Officer and agent of Foundation, and an

  agent of MFDC and Westcore II. (Doc. 117 ¶ at 27). Kerry Heltzel was or is an accountant

  for ACI, Westcore I, Westcore II, and Foundation. (Doc. 117 at ¶ 29). John Salat was or

  is an officer of Westcore I, has represented that he is Westcore I’s owner, and is an owner

  of Westcore II. (Doc. 117 at ¶ 28). Angelo Eguizabal (“Eguizabal”) is the former Vice

  President of Construction at Continental, and the creator and owner of Bravo 21, LLC

  (“Bravo 21”), a shell corporation. (Doc. 117 at ¶¶ 34-35).

          From 2011 to 2017, Albertelli-affiliated companies were awarded over

  $200,000,000.00 in apartment construction contracts, including:

     •    An August 22, 2013, contract between Plaintiff Continental 245 Fund LLC (the
          “Lexington Fund”) and ACI for a project in Lexington, Kentucky (the “Lexington
          Project”);

     •    On April 25, 2014, contract between Plaintiff Continental 298 Fund LLC (the
          “Savage Fund”) and ACI for a project in Savage, Minnesota (the “Savage Project”);

     •    A November 21, 2014, contract between Plaintiff Continental 306 Fund LLC (the
          “New Braunfels Fund”) and ACI for a project in New Braunfels, Texas (the “New
          Braunfels Project”);




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     •   A February 20, 2015, contract between Plaintiff Continental 332 Fund, LLC (the
         “Fort Myers Fund”) and ACI for a project in Fort Myers, Florida (the “Fort Myers
         Project”);

     •   A June 23, 2015, contract between Plaintiff Continental 326 Fund LLC (the
         “Rochester Fund”) and ACI for a project in Rochester, Minnesota (the “Rochester
         Project”);

     •   A January 19, 2016, contract between Plaintiff Continental 355 Fund LLC (the
         “Bryan Fund”) and Westcore I for a project in Bryan, Texas (the “Bryan Project”);

     •   A February 19, 2016, contract between Plaintiff Continental 347 Fund LLC (the
         “Waco Fund”) and Wesctore I for a project in Waco, Texas (the “Waco Project”);
         and

     •   A July 16, 2016 contract between Plaintiff Continental 342 Fund LLC (the
         “Longmont Fund”) and Westcore I for a project in Longmont, Colorado (the
         “Longmont Project”)).

  (Doc. 117 at ¶¶ 14, 44(a)-(h)). Each Project was allegedly completed defectively. (Doc.

  117 at ¶¶ 44(a)-(h)).

         While securing and undertaking the Projects, Defendants allegedly engaged in a

  wide swath of intentionally fraudulent activity (the “Scheme”) “designed to extract as much

  money as [they] could, as quickly as [they] could, without regard to contractual

  performance or any lawful right to payment.” (Doc. 117 at ¶ 52-53). Because it is alleged

  the Scheme was carried out by a bevy of Defendants, on eight Projects, and over the

  course of six years, the Court summarizes the facts according to the type of actions

  alleged.

         1. Bribery

         Beginning in 2014, the Albertellis purportedly paid Eguizabal to provide them with

  internal Continental information and to persuade Continental to award construction

  contracts to Albertelli-affiliated entities. (Doc. 117 at ¶¶ 14, 75, 80). From May 2013 to

  May 2014, the Albertellis used a third-party company to transfer at least thirteen payments




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  totaling $244,724.20 to Eguizabal’s bank account. (Doc. 117 at 66). During this time, the

  Lexington and Savage Projects were awarded to ACI. (Doc. 117 at ¶¶ 44(a)-(b)).

         Then, from July 2014 to August 2016, the Albertellis, Burke, and Kozlowski formed

  MFDC as a shell company, and the Albertellis and ACI used it to funnel at least

  $669,302.00 to Eguizabal. (Doc. 117 at ¶¶ 67-8). During this stretch, Continental

  awarded the New Braunfels, Fort Myers, Rochester, Bryan, Waco and Longmont Projects

  to ACI and Westcore I. (Doc. 117 at ¶¶ 44(c)-(h)). In May 2016, Eguizabal also formed

  his own company, Bravo21, to receive payments. (Doc. 117 at 69). The Albertellis, ACI,

  MFDC, Burke and Kozlowski then occasionally sent Eguizabal’s payments to Bravo21,

  amounting to at least $50,000.00. (Doc. 117 at 69).

         Eventually, the payments became so commonplace that David, Kozlowski and

  Salat included a line item for Eguizabal on the Waco, Bryan and Longmont Projects.

  (Doc. 117 at 69-70). In total, over $1,464,735.00 was funneled to Eguizabal from 2011

  to 2017, which was financed through misrepresentation of costs on the Projects, including

  amounts due to subcontractors. (Doc. 117 at ¶¶ 14, 75, 78).

         2. Other Albertelli Entities

            a. Westcore I

         After ACI entered into a number of contracts with Continental, it performed its

  duties poorly and deliver Projects late. (Doc. 117 at ¶¶ 7, 44(a)-(e)). As a result,

  Continental internally decided to avoid awarding future contracts to ACI. (Doc. 117 at ¶

  7).   To continue seeking Continental contracts, David convinced his acquaintance

  Gregory Hilz to form a general contracting company called Westcore I. (Doc. 117 at ¶¶

  8, 22, 89, 91). David and Hilz agreed to joint ownership of Westcore I, but David




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  concealed his ownership and control. (Doc. 117 at ¶¶ 86-87, 89). David later stated that

  Westcore I would be funded by including an extra $240,000.00 in the price of the Fort

  Myers Project. (Doc. 117 at ¶ 88).

         David then invented a fictitious business history for Westcore I to bolster its

  chances of securing additional Continental contracts. (Doc. 117 at ¶¶ 8, 92). This

  included falsifying a sworn qualification statement with Hilz and Kozlowski, which was

  submitted in November 2015. (Doc. 117 at ¶¶ 8, 93, 101). Among the allegedly false

  representations, were

            •   A statement in the Qualification Statement that Westcore I was formed in
                1992, even though it was formed in February 2015;

            •   A statement in the Qualification Statement that Westcore I performed an
                average of $376,196,476 worth of work over the previous five years, even
                though it had existed for less than two months at the time;

            •   A certification by Westcore I’s Chief Financial Officer, Michael Breaton, that
                the facts in the Qualification Statement were true, even though Michael
                Breaton does not exist;

            •   A financial statement representing Westcore I had total assets of more than
                $69,000,000.00;

            •   A letter from a surety representing Westcore I had a bonding capacity of
                $325,000,000.

  (Doc. 117 at ¶¶ 85, 97-99). Westcore I was then granted the Bryan, Waco and Longmont

  Projects. (Doc. 117 at ¶¶ 44(f)-(h)).

            b. Westcore II

         After Westcore I began to secure construction contracts, David, Salat, Kozlowski,

  Burke, and Foundation formed Westcore II. (Doc. 117 at ¶¶ 138-39). Westcore II

  (Westcore Construction, L.L.C.) is very similar in name to Westcore I (Westcore

  Construction, LLC). (Doc. 117 at 5). Plaintiffs allege David, Salat, Kozlowski, Burke,




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  Heltzel, and Foundation used the nearly identical names to mislead Continental and direct

  it to make payments to Westcore II (instead of Westcore I) for the Waco, Bryan, and

  Longmont Projects. (Doc. 117 at ¶¶ 140-144). The diversion of payments from Westcore

  I eventually resulted in subcontractors imposing more than $8,000,000.00 in liens on the

  Projects. (Doc. 117 at ¶¶ 145-46).

        3. Fraud

            a. ACI’s Savage Project Change Order

        In early 2015, the Savage Project fell behind schedule and ACI was subjected to

  contractually-mandated liquidated damages. (Doc. 117 at ¶ 113). The parties then

  agreed to a change order where ACI accepted responsibility for $401,780.00 in liquidated

  damages in return for an extension of the deadlines to turn over some buildings and

  continued progress payments. (Doc. 117 at ¶ 114). Despite this agreement, David,

  Kozlowski, and ACI later demanded that the Savage Fund pay for ACI’s alleged costs

  due to the delays that ACI itself had caused. (Doc. 117 at ¶ 116). David, Kozlowski, and

  ACI then attempted to leverage Savage Fund by slowing the already-delayed Project and

  threatening not to complete the work. (Doc. 117 at ¶ 117). ACI also filed a lien on the

  property that included the delay-related damages ACI had previously accepted as its

  responsibility. (Doc. 117 at ¶ 118). The entire process allowed ACI to obtain extended

  construction deadlines and to receive payments it would not have otherwise have

  received, while the Savage Fund was forced to defend itself against the lien claim. (Doc.

  117 at ¶ 120).




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            b. ACI’s Involvement with National Framing on the Fort Myers Project

        In November 2016, David, on behalf of ACI, executed a payment application for

  $1,072,397.64 for work done on the Fort Myers Project. (Doc. 117 at ¶¶ 121,124). Part

  of the application represented National Framing was due a $60,673.14 payment for

  subcontracting services, and thereafter the balance due to it would be $364,783.75. (Doc.

  117 at ¶ 122). Notably, David owns both ACI and, through Foundation Management,

  National Framing. (Doc. 117 at ¶¶ 18, 20, 31-32). The Fort Myers Fund then relied on

  the application and paid ACI $1,072,397.64, with the requested $60,673.14 earmarked

  for National Framing. (Doc. 117 at ¶ 124). Four months after that, George signed a Claim

  of Lien and an Affidavit representing National Framing was due $581,470.90, which was

  $216,687.15 more than ACI had previously represented was owed. (Doc. 117 at ¶¶ 125-

  26). The Fort Myers Fund was then forced to procure a lien bond to as collateral for the

  lien claim. (Doc. 117 at ¶ 127).

            c. ACI’s Involvement with National Framing on the Rochester Project

        While working on the Rochester Project, ACI subcontracted with KMM, which is

  owned by David through Foundation Management, and National Framing. (Doc. 117 at

  ¶¶ 31, 33, 136). David failed to disclose his interest in KMM and National Framing. (Doc.

  117 at ¶ 136). ACI then allegedly failed to pay for services rendered, causing KMM and

  National Framing to impose liens on their work, and to sue the Rochester Fund. (Doc.

  117 at ¶ 136).

            d. Team CCR

        While working on the Longmont Project, David, Salat, Kozlowski, Foundation,

  Westcore II, and Heltzel used a system of self-dealing to profit from subcontracted work.




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  (Doc. 117 at ¶¶ 147-48, 159). In substance, Westcore I received $2,083,723.71 for

  subcontracting services on the Project. (Doc. 117 at ¶ 160). But, in actuality, Westcore

  I subcontracted with a company called Consolidated Resources for $1,805,450.55. (Doc.

  117 at ¶ 160). Consolidated Resources then informed both Continental’s project manager

  and Westcore I that it intended to change the company name to Team CCR. (Doc. 117

  at ¶¶ 149-150). David, Salat, Kozlowski and Burke then seized on the Team CCR name

  and formed a company called Team CCR, LLC (“Albertelli Team CCR”). (Doc. 117 at ¶

  151). Using an online portal, Albertelli Team CCR input payment application data as if it

  was performing the work, while Consolidated Resources submitted paper-based payment

  applications to Westcore I. (Doc. 117 at ¶¶ 153). This allowed Albertelli Team CCR to

  masquerade as if it were Consolidated Resources, and concealed that Consolidated

  Resources had been subcontracted for less than the amount allocated by the Longmont

  Fund for the Project. (Doc. 117 at ¶¶ 154-55, 160). In sum, Albertelli Team CCR

  pocketed $278,273.16, which was the difference between the amount granted to

  Westcore I for the subcontracting services and the subcontracting agreement with

  Consolidated Resources. (Doc. 117 at ¶ 160). Westcore I also failed to pay Consolidated

  Resources, which resulted in Consolidated Resources recording a mechanic’s lien on the

  Longmont Project. (Doc. 117 at ¶ 161).

            e. Westcore I’s Involvement with Peale & Associates

        While working on the Waco Project, Westcore I submitted a sworn payment

  application for $3,241,194.33 for siding and framing labor. (Doc. 117 at ¶ 164). But it

  then subcontracted that work to Framing USA, a company also owned by David through

  US Construction Trust, who then sub-subcontracted it to a third company, Peal &




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  Associates, for $1,907,000.00. (Doc. 117 at ¶¶ 165-66). Westcore I then defaulted on

  its work on the Waco Project and was terminated in June 2017. (Doc. 117 at ¶ 171). By

  that time, the Waco Fund had paid Westcore I $2,325,864.35 for the work, which was

  $418,864.35 more than it had been sub-subcontracted for. (Doc. 117 at ¶ 171-72).

  Westcore II, David, Salat, Kozlowski, Foundation Management, and Burke benefitted

  from the overpayment. (Doc. 117 at ¶ 172). Then the Waco Fund had to complete the

  Waco Project for more than the budgeted cost. (Doc. 117 at ¶ 173).

        4. Theft

        In December 2016, David improperly deposited thirty-five checks worth over

  $2,000,000.00 into ACI’s bank account. (Doc. 117 at ¶¶ 182, 196, 205). The Fort Myers

  and Rochester Projects made the checks out jointly to ACI and the individual

  subcontractor the payment was meant for. (Doc. 117 at ¶¶ 184-85, 187, 189-90, 194,

  199-201). As is customary in the construction industry, ACI was supposed to endorse

  the check and deliver it to the subcontractor, creating a paper trail showing payment.

  (Doc. 117 at ¶ 184). But instead of forwarding the checks to the subcontractors, David

  deposited them into ACI’s bank account. (Doc. 117 at ¶¶ 182, 184, 196, 205, 209). Then,

  through David, Kozlowski, and Butler, ACI mailed lien releases or waivers to the

  subcontractors that had performed the work and used parcel tracking numbers to indicate

  it had distributed the checks. (Doc. 117 at ¶ 185, 190, 195, 197-201, 203). Allegedly,

  ACI, David, Kozlowski, and Butler knew the Fort Myers and Rochester Funds would be

  induced to issue checks based on ACI’s representations, and never intended to send the

  joint checks to the subcontractors. (Doc. 117 at ¶ 206-07). George knew about the theft,

  profited from it, and tried to retain the stolen money. (Doc. 117 at ¶ 211). Though




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  Continental’s bank reimbursed the amounts transferred to ACI’s bank, ACI returned none

  of the money. (Doc. 117 at ¶ 211).

  B.    Procedural Background

        The Fort Myers, Savage, New Braunfels and Rochester Funds filed a Complaint

  against David and ACI in January 2017. (Doc. 1). After Defendants moved to Dismiss,

  Plaintiffs filed an Amended Complaint against the Defendants, along with Eguizabal and

  Bravo 21. (Doc. 49). Defendants again moved to dismiss. (Docs. 80; 81; 82; 83; 84; 85;

  86; 87; 88). Before the Court could enter an Order on the then-pending motions, Plaintiffs

  voluntarily dismissed Eguizabal and Bravo 21. (Doc. 93). Then, the Court granted

  Defendants’ motions to dismiss in part, finding that the Amended Complaint largely failed

  to meet the pleading requirements of Federal Rules of Civil Procedure 8(a)(2) and 9(b).

  (Doc. 110). Plaintiffs filed a Third Amended Complaint in March 2016. (Doc. 117). It

  contains these counts:

        (1)   All Defendants are liable for violations of the Federal Racketeering
              Influenced and Corrupt Practices Act (the “RICO Act”);

        (2)   All Defendants are liable for violations of Florida’s civil and criminal RICO
              Act;

        (3)   All Defendants are liable for conspiring to violate Florida’s civil and criminal
              RICO Act;

        (4)   The Albertellis and ACI are liable for Civil Theft;

        (5)   All Defendants are liable for common law fraud;

        (6)   All Defendants are liable for common law conspiracy to commit fraud;

        (7)   David and ACI are liable for Conversion;

        (8)   ACI is liable for a breach of Minnesota’s Theft by Contractor Statute;

        (9)   ACI is liable for breach of subcontracts;




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          (10)   ACI is liable for violation of the Florida Prompt Payment Act;

          (11)   ACI is liable for violation of the Minnesota Prompt Payment Act;

          (12)   ACI is liable for breach of contract on the Savage Project;

          (13)   ACI is liable for professional negligence on the Savage Project;

          (14)   ACI is liable for breach of contract on the Rochester Project;

          (15)   ACI is liable for breach of contract on the Fort Myers Project;

          (16)   ACI is liable for breach of implied warranty on the Fort Myers Project;

          (17)   ACI is liable for breach of contract on the New Braunfels Project;

          (18)   Westcore I is liable for breach of contract on the Waco Project;

          (19)   Westcore I is liable for breach of contract on the Bryan Project;

          (20)   Westcore I is liable for breach of contract on the Longmont Project;

          (21)   ACI is liable for breach of contract on the Lexington Project.

  (Doc. 117 at 2-4). Now, Defendants again move to dismiss. (Docs. 130; 135; 136; 137,

  138).

                                     LEGAL STANDARD

          Federal Rule of Civil Procedure 8(a)(2) requires a pleading to contain a short and

  plain statement of a claim showing the pleader is entitled to relief. The Rule’s purpose is

  to “give the defendant fair notice of what the claim is and the grounds upon which it rests.”

  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal punctuation omitted).

          Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a pleading for

  failure to state a claim upon which relief can be granted. This decision hinges on the

  Twombly–Iqbal plausibility standard, which requires a plaintiff to allege sufficient facts

  raise a reasonable inference “that the defendant is liable for the misconduct alleged.”




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  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Twombly, 550 U.S. at 556. The

  Court must accept all factual allegations in a complaint as true and take them in the light

  most favorable to the plaintiff. Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir.

  2008). But acceptance is limited to well-pleaded factual allegations. La Grasta v. First

  Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004). A “the-defendant-unlawfully harmed

  me accusation” is insufficient. Iqbal, 556 U.S. at 677. “Nor does a complaint suffice if it

  tenders naked assertions devoid of further factual enhancement.” Id. (internal quotations

  omitted).

                                         DISCUSSION

         Defendants argue Counts 1-6 should be dismissed because they have not been

  sufficiently alleged. They also argue the Court should dismiss the other counts by

  declining to exercise supplemental jurisdiction. Each argument will be addressed.

  A.     RICO

         Count 1 alleges Defendants violated the RICO Act. Counts 2 and 3 respectively

  allege Defendants violated the Florida RICO Act and conspired to violate the Florida

  RICO Act. Beginning with the RICO Act, 18 U.S.C. § 1962 provides that

                (a) It shall be unlawful for any person who has received any
                    income derived, directly or indirectly, from a pattern of
                    racketeering activity . . .to use or invest, directly or
                    indirectly, any part of such income, or the proceeds of such
                    income, in acquisition of any interest in, or the
                    establishment or operation of, any enterprise which is
                    engaged in, or the activities of which affect, interstate or
                    foreign commerce.

                (b) It shall be unlawful for any person through a pattern of
                    racketeering activity . . . to acquire or maintain, directly or
                    indirectly, any interest in or control of any enterprise which
                    is engaged in, or the activities of which affect, interstate or
                    foreign commerce.




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                (c) It shall be unlawful for any person employed by or
                    associated with any enterprise engaged in, or the activities
                    of which affect, interstate or foreign commerce, to conduct
                    or participate, directly or indirectly, in the conduct of such
                    enterprise’s affairs through a pattern of racketeering
                    activity . . . .

                (d) It shall be unlawful for any person to conspire to violate
                    any of the provisions of subsection (a), (b), or (c) of this
                    section.

  18 U.S.C. §§ 1962(a)-(d).

         Section 1961(1) contains a list of racketeering acts, which are otherwise called

  predicate acts. 18 U.S.C. § 1961(1); see also Beck v. Prupis, 529 U.S. 494, 497 n.2

  (2000). That list includes bribery, mail fraud, wire fraud, and bank fraud. See 18 U.S.C.

  § 1961(1). “To successfully allege a pattern of racketeering activity, plaintiffs must charge

  that: (1) the defendants committed two or more predicate acts within a ten-year time span;

  (2) the predicate acts were related to one another; and (3) the predicate acts

  demonstrated criminal conduct of a continuing nature.”               Jackson v. BellSouth

  Telecommunications, 372 F.3d 1250, 1264 (11th Cir. 2004); see also 18 U.S.C. §

  1961(5).

         Section 1964(c) provides for a civil RICO remedy where a plaintiff alleges “(1) the

  requisite injury to business or property, and (2) that such injury was by reason of the

  substantive RICO violation.” See Williams v. Mohawk Indus., Inc., 465 F.3d 1277, 1282–

  83 (11th Cir. 2006), abrograted on other grounds by Simpson v. Sanderson Farms, Inc.,

  744 F.3d 702 (11th Cir. 2014) (internal quotations omitted); see also 18 U.S.C. § 1964(c).

  If successful, a plaintiff may recover “threefold the damages he sustains and the cost of

  the suit, including a reasonable attorney’s fee.” 18 U.S.C. § 1964(c).




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         Florida has its own RICO statute. Fla. Stat. § 772.103. But it “is informed by case

  law interpreting the federal RICO statute.” Jones v. Childers, 18 F.3d 899, 910 (11th

  Cir.1994) (internal citation omitted). Therefore, the Eleventh Circuit applies federal RICO

  Act analysis equally to Florida RICO claims. Jackson, 372 F.3d at 1263–64.

         Defendants argue counts 1-3 should be dismissed for multiple reasons: the counts

  are shotgun pleadings; Plaintiffs fail to adequately plead an association in fact enterprise;

  Plaintiffs fail to adequately plead RICO predicate acts; and Plaintiffs fail to allege an

  actionable injury to business or property. The Court disagrees with each contention.

     1. Shotgun Pleadings

         Defendants argue Count 1 should be dismissed as a shotgun pleading because it:

  (1) pleads multiple claims, (2) combines the claims of eight separate plaintiffs, and (3)

  joins all defendants into one count. Defendants further contend their arguments apply to

  Counts 2 and 3 as they each incorporate the facts alleged in Count 1.

         Complaints that violate Rules 8(a)(2) and 10(b) are commonly called “shotgun

  pleadings.” Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1320 (11th Cir.

  2015). As is mentioned above, Rule 8(a)(2) requires a “short and plain statement of the

  claim showing that the pleader is entitled to relief.” Rule 10 states that “[i]f doing so would

  promote clarity, each claim founded on a separate transaction or occurrence . . . must be

  stated in a separate count or defense.” The Eleventh Circuit has found four types of

  shotgun pleadings:

                The most common type—by a long shot—is a complaint
                containing multiple counts where each count adopts the
                allegations of all preceding counts, causing each successive
                count to carry all that came before and the last count to be a
                combination of the entire complaint. The next most common
                type, at least as far as our published opinions on the subject




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                reflect, is a complaint that does not commit the mortal sin of
                re-alleging all preceding counts but is guilty of the venial sin
                of being replete with conclusory, vague, and immaterial facts
                not obviously connected to any particular cause of action. The
                third type of shotgun pleading is one that commits the sin of
                not separating into a different count each cause of action or
                claim for relief. Fourth, and finally, there is the relatively rare
                sin of asserting multiple claims against multiple defendants
                without specifying which of the defendants are responsible for
                which acts or omissions, or which of the defendants the claim
                is brought against.

  Id. at 1321–23. All four types are deficient because “they fail to one degree or another .

  . . to give the defendants adequate notice of the claims against them and the grounds

  upon which each claim rests.” Id. at 23.

         Against this backdrop, Defendants first argue Count 1 should be dismissed

  because it contains claims for both substantive and conspiratorial violations of 18 U.S.C.

  § 1962. This argument tracks with the third of the Eleventh Circuit’s four types of shotgun

  pleadings, which pertains to the failure to separate distinct causes of action into different

  counts. See Weiland, 792 F.3d at 1322-23. But courts in this district have found that not

  every count involving multiple claims is a shotgun pleading. See Howard v. Wells Fargo

  Bank, N.A., No. 6:16-CV-505-PGB-TBS, 2016 WL 3447514, at *3 (M.D. Fla. June 23,

  2016); see also Amegy Bank Nat. Ass’n v. Deutsche Bank Corp., 917 F. Supp. 2d 1228,

  1233 (M.D. Fla. 2013). To the contrary, a plaintiff need not separate her claims where

  they arise out of the same transaction or occurrence and defendants are provided with

  adequate notice. See Howard, 2016 WL 3447514, at *3. This makes sense, because

  notice is the touchstone of the Eleventh Circuit’s shotgun pleading framework. See

  Weiland, 792 F.3d at 1323.




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         Defendants do not meaningfully contest that the claims arise out of the same

  transaction or occurrence for shotgun pleading purposes. But they contend they have

  not received adequate notice for two reasons. First, Defendants argue they have not

  received adequate notice because Count 1 does not state the specific subsection of 18

  U.S.C. § 1962 that was allegedly violated. In support, they cite a case from the Eastern

  District of Michigan, Ralston v. Capper, where a court dismissed a RICO claim devoid of

  specificity as to the subsection on which it rested. 569 F. Supp. 1575, 1581 (E.D. Mich.

  1983). The court there noted that although the claim seemed to track with § 1962(c), the

  defendants were “clearly entitled to have notice of which specific provisions of § 1962

  plaintiffs [were] relying on.” Id.

         Ralston, however, is not the law of the land. Over thirty years after Ralston was

  decided, the Supreme Court found that the Federal Rules of Civil Procedure only require

  a plaintiff to plead facts sufficient to show plausibility; “they do not countenance dismissal

  of a complaint for imperfect statement of the legal theory supporting the claim asserted.”

  Johnson v. City of Shelby, Miss., 135 S. Ct. 346, 346 (2014). Defendants are incorrect

  that Plaintiffs were required to specifically state the statutory grounds for the claim in order

  to provide adequate notice.

         Second, Defendants contend they have not received adequate notice because

  Count 1 contains multiple theories of liability. As evidence, they cite paragraph 214, which

  alleges, “[e]ach Defendant is part of the [Scheme], had knowledge of one or more

  predicate acts committed by the [Scheme], conspired to commit or committed one or more

  predicate acts, or has knowingly agreed to the commission of one or more illegal predicate

  acts by the [Scheme].” (Doc. 117 at ¶ 214). They claim that to achieve requisite notice,




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  Count 1 should allege each Defendant’s specific acts, including whether the Defendant

  conspired to commit, committed, or knowingly agreed to the commission of predicate

  acts. But this argument fails because Rule 8(d)(2) states that “a party may set out [two]

  or more statements of a claim” and that such a claim will survive if “any one of them is

  sufficient.” Plaintiffs are well within the law to allege in the alternative.

         Returning to substance, Count 1 alleges each Defendant’s specific acts. (Doc.

  117 at ¶¶ 216-252). It also states that the acts giving rise to the claims were part of the

  same pattern because they were committed to further the Scheme. (Doc. 117 at 52-53).

  Moreover, Defendants’ Motion to dismiss addresses Count 1’s claims in relation to each

  subsection of § 1962, and indicates no prejudice or confusion regarding the current state

  of the allegations. Consequently, the mere fact that Count 1 contains multiple causes of

  action is not grounds for dismissal.

         Defendants argue that even if pleading multiple claims in the same count is

  permissible here, Count 1 should still be dismissed because it improperly combines the

  claims of eight separate plaintiffs. While this argument does not fit into a Wieland shotgun

  pleading type, Defendants cite to the Eleventh Circuit’s opinion in Davis v. Coca-Cola

  Bottling Co., to argue that the claims of separate plaintiffs must be alleged in separate

  counts. 516 F.3d 955, 980 n.57 (11th Cir. 2008). This misconstrues Davis. There, a

  group of black employees sued their employer, claiming they had been discriminated

  against based on race. Id. at 961. But their complaint was dismissed as a shotgun

  pleading because it contained multiple plaintiffs and causes of action in one count, and

  linked no particular plaintiff to any particular cause of action. Id. at 980-81. In a footnote,

  the court also found that plaintiffs’ use of one count to mount a range of discrimination




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  claims that affected multiple plaintiffs in different ways was incompatible with Rule 10(b)’s

  focus on clarity. Id. at 980 n.57.

         Defendants seize upon the Davis footnote as evidence of a bright line ban on

  joining multiple plaintiffs in a single claim. But it is not. Rule 10(b) – the basis for that

  footnote – is a flexible standard that turns on whether pleading multiple claims in one

  count advances or hinders the interests of clarity. See FED. R. CIV. P. 10(b). Other courts

  have found that the interests of clarity can be advanced by joining multiple plaintiffs in a

  single claim based on a pattern of behavior that caused injuries. See Erickson v. Hunter,

  932 F. Supp. 1380, 1384 (M.D. Fla. 1996); see also Bautista v. Los Angeles Cty., 216

  F.3d 837, 844 (9th Cir. 2000). The pattern of behavior need not manifest itself the same

  way to each plaintiff. Erickson, 932 F. Supp. at 1384. And so it is here. Count 1 alleges

  Defendants participated in a clear and individualized pattern of behavior over a course of

  time. (Doc. 117 at ¶¶ 52-54). Each Defendant’s actions are spelled out, as is how each

  Plaintiff was affected. (Doc. 117 at ¶¶ 216-252). These factors, and the fact that the

  Scheme was perpetrated by several Defendants against several Plaintiffs, in several

  locations, over several years, indicate that the interests of clarity are served by including

  multiple Plaintiffs in Count 1. A different conclusion would lead to a duplicative and

  unwieldy pleading that would benefit neither the parties nor the interests of justice.

         Still, Defendants contend that even if their prior arguments do not prevail, Count 1

  should be dismissed as a shotgun pleading because it joins all Defendants into one count.

  This argument casts Count 1 as the fourth type of shotgun pleading identified in Wieland.

  792 F.3d at 1323. But, like the ones before it, Defendants’ argument fails. The Court

  does not read Wieland to prohibit all instances where a count lodges a claim against




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  multiple defendants, but rather only where such a claim fails to provide Defendants with

  adequate notice of the claims against them. See Weiland, 792 F.3d at 1323. Other courts

  have also reached this nuanced distinction by approving of claims lodged against multiple

  defendants where the activities undertaken by each defendant were alleged. See FFC

  Mortg. Corp. LLC v. Red Door Title Ins. Agency, Inc., No. 13-61132-CIV, 2013 WL

  12138556, at *3 (S.D. Fla. Dec. 12, 2013); see also F.T.C. v. Centro Nat. Corp., No. 14-

  23879-CIV, 2014 WL 7525697, at *7 (S.D. Fla. Dec. 10, 2014). As is mentioned above,

  this is precisely the case here because Count 1 alleges the existence and purpose of the

  Scheme with the individual actions each Defendant perpetrated.3 (Doc. 117 at ¶¶ 52-54,

  216-252). Count 1 cannot be called a shotgun pleading. The same is true of Counts 2

  and 3.4

      2. Association In Fact Enterprise

         Next, Defendants argue Count 1 should be dismissed because it fails to allege the

  existence of a RICO enterprise under 18 U.S.C. § 1962(c).             Under § 1962(c), an



  3 David and ACI also take issue with the possibility of facing treble damages for actions
  perpetrated by other Defendants in Count 1. This is a puzzling argument because it does
  not relate whether the claim is a shotgun pleading. In any event, RICO Act defendants
  are subject to joint and several liability. See Allstate Ins. Co. v. Palterovich, 653 F. Supp.
  2d 1306, 1334 (S.D. Fla. 2009). The same is true for Florida Rico Act defendants. See
  Albertson’s, Inc. v. Adams, 473 So.2d 231, 233 (Fla.2d DCA 1985) (“Under Florida law
  “[j]oint and several liability exists where two or more wrongdoers negligently contribute to
  the injury of another by their several acts, which operate concurrently, so that in effect the
  damages suffered are rendered inseparable.”). Thus, as long as Plaintiffs allege
  Defendants took part in a RICO enterprise, all defendants are exposed to similar liability.
  4 Separately Defendants also argue Counts 5 and 6, which respectively allege all
  Defendants committed common law fraud and conspiracy to commit common law fraud,
  are shotgun pleadings because the claims plead multiple claims in the same counts,
  because they include multiple Plaintiffs, and because they include multiple Defendants.
  These arguments mirror those made in relation to Counts 1-3 and they fail for the same
  reasons. Counts 5 and 6 are not shotgun pleadings.



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  enterprise includes “any individual, partnership, corporation, association, or other legal

  entity, and any union or group of individuals associated in fact although not a legal entity.”

  18 U.S.C. § 1961(4). An association in fact enterprise need not have a formal name,

  regular meetings, established rules, a hierarchical structure or a chain of command.

  Boyle v. United States, 556 U.S. 938, 948 (2009). Decisions in the enterprise may instead

  be made on an ad hoc basis and members may lack defined roles. Id. All that matters

  is whether the enterprise has “a purpose, relationships among those associated with the

  enterprise, and longevity sufficient to permit these associates to pursue the enterprise’s

  purpose.” Id. at 946.

         Here, Plaintiffs have sufficiently alleged the existence of an association in fact

  enterprise. They claim the Albertellis started the Scheme and that it grew to include each

  of the Defendants. (Doc. 117 at ¶ 51). The alleged purpose of the Scheme was to obtain

  Continental construction contracts “by bribery, [to] obtain payments for work that [was]

  not done or [was] deficient, and [to] add unfounded costs to construction projects to

  ensure that the maximum price [was] paid.” (Doc. 117 at ¶¶ 53). Through these actions,

  the Scheme aimed to “extract as much money as it could, as quickly as it could, without

  regard to contractual performance or any lawful right to payment of the participants.”

  (Doc. 117 at ¶ 53).

         The Third Amended Complaint also establishes a nexus between the purpose of

  the Scheme and the acts it carried out, and a relationship between individuals that

  comprised the Scheme itself. First, it connects the acts with the Scheme’s aims by

  alleging Defendants intended to defraud Continental through several avenues and that

  Defendants followed through with those aims by sending bribe payments (Doc. 117 at ¶¶




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  57-81), falsifying documents and engaging in self-dealing (Doc. 117 at ¶¶ 82-181), and

  committing theft (Doc. 117 at ¶¶ 182-211). Second, it establishes each Defendant’s

  relationship with the Scheme by specifying their purported actions. (Doc. 117 at ¶¶ 14-

  15, 52-56, 212-526). The common thread among each Defendant was that they were

  connected to David, and that they either had knowledge of acts, actually committed acts,

  or conspired to commit acts, against Continental. (Doc. 117 at ¶¶ 14-15, 52-56, 157, 189,

  192, 206-07, 212-14, 216, 218, 221, 224, 226, 228, 231-32, 234, 237, 239, 241, 243, 245,

  247, 249, 251). Last, Plaintiffs allege the acts took place over at least eight work sites

  during six years. (Doc. 117 at ¶¶ 14, 52). These facts plausibly support the allegation of

  an association in fact enterprise and they are not grounds for dismissal.

     3. Predicate Acts

        Defendants next argue Count 1 should be dismissed because it does not

  adequately plead fraud-related predicate acts. Under RICO, fraudulent predicate acts

  must meet Rule 9(b)’s heightened pleading threshold. Liquidation Comm'n of Banco

  Intercontinental, S.A. v. Renta, 530 F.3d 1339, 1355 (11th Cir. 2008). This normally

  means “a plaintiff must plead facts as to time, place, and substance of the defendant’s

  alleged fraud, specifically the details of the defendant’s allegedly fraudulent acts, when

  they occurred, and who engaged in them.” U.S. ex rel. Atkins v. McInteer, 470 F.3d 1350,

  1357 (11th Cir. 2006) (internal quotations omitted). But where “the alleged fraud occurred

  over an extended period of time and the acts were numerous, the specificity requirements

  are applied less stringently.” Lawrence Holdings, Inc. v. ASA Int’l, LTD., No. 8:14-CV-

  1862-T-33EAJ, 2014 WL 5502464, at *11 (M.D. Fla. Oct. 30, 2014). This is true where

  defendants possess factual information about the ongoing conduct of their business. Id.




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  at *13. States of mind like intent and knowledge may also be alleged generally. Brooks

  v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1371 (11th Cir. 1997).

         In broad strokes, Count 1 alleges four main sets of predicate acts: bribery, wire

  fraud, mail fraud, and bank fraud. First, Plaintiffs allege they were affected by bribery in

  Florida, Colorado, Texas and Minnesota. (Doc. 117 at ¶¶ 57-81, 256). To sufficiently

  allege bribery, a plaintiff must claim a defendant offered, conferred, or agreed to confer a

  payment to influence another to violate a known duty. See Colo. Rev. Stat. § 18-5-401;

  see also Tex. Penal Code § 32.43; Minn. Stat. § 609.86. Here, the Third Amended

  Complaint alleges that from 2011 to 2017, ACI, the Albertellis, Westcore I, Kozlowski,

  Salat and Burke paid at least $1,464,735.00 in bribes to Eguizabal, Continental’s Vice

  President of Construction, to secure construction over $200,000,000.00 in construction

  contracts. (Doc. 117 at ¶ 14). The Third Amended Complaint spells out Defendants’

  individual roles in the commission of bribery, time frames for the bribery, specific

  instances, and the temporal relation to specific projects. (Doc. 117 at ¶¶ 57-81, 212-252).

  Bribery is adequately pled as a predicate act.5

         Next, Plaintiffs allege Defendants committed a range of acts that can be wire fraud

  or mail fraud. (Doc. 117 at ¶¶ 212-13). Such claims generally require a plaintiff to allege:

  “(1) that defendants knowingly devised or participated in a scheme to defraud plaintiffs,(2)

  that they did so willingly with an intent to defraud, and (3) that the defendants used the




  5 George also argues bribery is not sufficiently alleged as a predicate act because the
  Third Amended Complaint does not detail what bribery statute he purportedly violated.
  This argument is a non-starter. First, as the Court found above, the failure to cite specific
  statutory authority in a pleading is not grounds for dismissal. See Johnson, 135 S. Ct. at
  346. In any event, the Amended Complaint does list various state bribery laws to which
  George Albertelli is subject. (Doc. 117 at ¶ 256). The claim survives.



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  U.S. mails or the interstate wires for the purpose of executing the scheme.” Langford v.

  Rite Aid of Alabama, Inc., 231 F.3d 1308, 1312 (11th Cir. 2000); see also 18 U.S.C. §§

  1341, 1343. Plaintiffs allege Defendants committed wire or mail fraud by setting up and

  sending bribes by wire (Doc. 117 at ¶¶ 60, 66, 68, 72, 74, 77, 212-214, 228(a), 249(a)),

  setting up and submitting falsified corporate documents and financial information to

  Continental by wire (Doc. 117 at ¶¶ 78, 94, 106-07, 213, 249(b), 259), setting up and

  submitting false or inflated payment applications by wire (Doc. 117 at ¶¶ 121-22, 142-43,

  169, 213, 258, 218(b), 231(e), 251(b)), and using wire and mail to steal joint checks (Doc.

  117 at ¶ 183, 191, 193, 195-98, 200, 203-05, 213, 216(c), 218(c), 221(g), 260). These

  acts are also adequately pled.

         Finally, to alleged bank fraud under 18 U.S.C. § 1344(2), a plaintiff must allege (1)

  a defendant intended to obtain money or property under the control of a financial

  institution, and (2) that they actually obtained such money “by means of false or fraudulent

  pretenses, representations, or promises.” 18 U.S.C. § 1344(2); see also Loughrin v.

  United States, 134 S. Ct. 2384, 2389 (2014). The Supreme Court has found that the

  statute’s use of the phrase “by means of” “demands that the defendant’s false statement

  is the mechanism naturally inducing a bank (or custodian) to part with its money.”

  Loughrin, 134 S. Ct. at 2394. Here, Plaintiffs allege Defendants committed bank fraud in

  relation to the theft of the joint checks because David deposited joint checks into ACI’s

  bank account without the legal right to do so. (Doc. 117 at ¶¶ 196, 210, 213, 260). Count

  1 alleges how the checks were addressed, why they were addressed jointly, the

  circumstances preceding the check deposits, the roles of individual Defendants involved,

  when the actions took place, and their effects. (Doc. 117 at ¶¶ 182-211, 216(c), 218(c),




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  218(g), 231(f), 249(c)). Bank fraud is also sufficiently alleged as a predicate act.

     4. Injury to Business or Property

         Next, Defendants draw issue with whether Plaintiffs’ injuries are actionable under

  18 U.S.C. § 1962(a) or (b), and whether they were proximately caused by the Scheme.

  Because Defendants only specifically attack Count 1’s viability under § 1962(a) and (b),

  the Court will tread no further. Regardless, the Court finds Count 1 plausibly alleges a

  violation of § 1962(a), but not of (b).

             a. 18 U.S.C. § 1962(a)

         Defendants argue Count 1 should be dismissed because it fails to allege they

  proximately caused actionable injuries under § 1962(a). Under § 1962(a), it is illegal for

  any person who has received “any income derived, directly or indirectly, from a pattern of

  racketeering activity” to “use or invest, directly or indirectly, any part of such income, or

  the proceeds of such income, in acquisition of any interest in, or the establishment or

  operation of, any enterprise which is engaged in, or the activities of which affect, interstate

  or foreign commerce.” As with each subsection of § 1962, a civil RICO Act claim requires

  an injury to business or property. 18 U.S.C. § 1964(c).

         But no binding standard exists for how an injury to business or property should be

  assessed in the context of § 1962(a). On the one hand, a majority of courts have adopted

  the “investment rule”, which mandates that “a claimant under § 1962(a) must plead an

  injury which stems not from the racketeering predicate acts themselves but from the use

  or investment of racketeering income.”       Lockheed Martin Corp. v. Boeing Co., 357 F.

  Supp. 2d 1350, 1369 (M.D. Fla. 2005) (internal punctuation omitted) (collecting cases).

  Only the Fourth Circuit Court of Appeals has allowed § 1962(a) claims based on injuries




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  caused by the predicate acts themselves. Busby v. Crown Supply, Inc., 896 F.2d 833,

  837 (4th Cir. 1990). In either case, the conduct must have proximately caused the alleged

  injuries. Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992).

        The Court will join the majority by embracing the investment rule. Because it is the

  use or investment of racketeering income that violates § 1962(a), rather than the

  racketeering acts themselves, it makes sense that qualifying injuries under § 1962(a)

  should flow from the prohibited acts. A broader interpretation would render § 1962(c)

  superfluous, as that provision is violated by the predicate acts themselves. See 18 U.S.C.

  § 1962(c); see also Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006).

        Defendants argue Count 1 should be dismissed because it does not comply with

  the investment rule. The Court disagrees. Plaintiffs allege Defendants secured income

  through a pattern of racketeering activity that began with bribery, and that they invested

  that income by establishing new entities, such as Albertelli Team CCR, and by funding

  contractors operating under false pretenses, such as Westcore I, that were intended to

  further the Scheme. (Doc. 117 at ¶¶ 54-55, 238, 240, 244, 251). These entities then

  furthered the Scheme and harmed Plaintiffs by committing other acts of bribery,

  submitting falsified documents and payment requests, and self-dealing. (Doc. 117 at ¶¶

  52-55, 70-71, 75, 161, 213, 224(a)-(e), 245(a)-(b), 257, 259).

        Still, Defendants argue Plaintiffs’ injuries were not proximately caused by the

  establishment of, or investment in, third-party entities, and instead result from poor

  contractual performance. But this attempt to sever the causational string falls short.

  Courts have found that proximate cause can be satisfied for a § 1962(a) claim where a

  defendant uses racketeering income to establish a new entity that then proximately




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  causes harm to a Plaintiff. See Ideal Steel Supply Corp. v. Anza, 652 F.3d 310, 328 (2d

  Cir. 2011) (finding a § 1962(a) violation where a Defendant did not charge sales taxes on

  products at one store and used the increased revenue to establish a second store that

  proximately competed with Plaintiff’s business, thereby damaging it); see also Colonial

  Penn Ins. Co. v. Value Rent–A–Car, Inc., 814 F. Supp. 1084, 1095 (S.D. Fla. 1992)

  (finding a § 1962(a) violation where “the investment of the income fraudulently obtained

  allegedly enabled the Defendants to perpetuate the operation of the enterprise and

  continue to defraud” the plaintiff). With that in mind, the Court finds Count 1’s allegations

  to be sufficient. Had Defendants never established Albertelli Team CCR or invested in

  Westcore I, those entities would not have been able to join the Scheme and commit

  predicate acts to further injure Plaintiffs.6 Because Defendants did establish the entities

  with the intent to use them to further the Scheme, it was foreseeable that they would

  cause Plaintiffs’ injuries. Plaintiffs have plausibly pled proximate cause in relation to §

  1962(a).

             b. 18 U.S.C. § 1962(b)

         Next, Defendants argue Count 1 fails to allege they proximately caused actionable

  injuries under § 1962(b). The Court agrees. Under § 1962(b), “[i]t shall be unlawful for

  any person through a pattern of racketeering activity . . . to acquire or maintain, directly




  6 To the extent Defendants allege Plaintiffs seek to treble ordinary breach of contract
  claims by characterizing Defendants’ activities as fraudulent, this argument fails as well.
  For one thing, this argument does not contest the substantive allegations of the Third
  Amended Complaint. For another, Defendants cite no authority definitively holding RICO
  Act claims are incompatible with ordinary breach of contract claims. But the Eleventh
  Circuit has allowed such claims to co-exist. Cox v. Adm’r U.S. Steel & Carnegie, 17 F.3d
  1386, 1411 (11th Cir.), opinion modified on reh’g, 30 F.3d 1347 (11th Cir. 1994).
  Defendants’ argument fails.



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  or indirectly, any interest in or control of any enterprise which is engaged in, or the

  activities of which affect, interstate or foreign commerce.” While § 1962(a) prohibits using

  funds acquired through a pattern of racketeering activity to invest in or acquire an

  enterprise, § 1962(b) prohibits the acquisition or maintenance of an enterprise through a

  pattern of racketeering activity. See id. at §§ 1962(a)-(b). Plaintiffs have not plausibly

  alleged a violation of § 1962(b). While the Third Amended Complaint is rife with predicate

  acts that allowed Defendants to establish and fund enterprises, it is devoid of any

  allegation those enterprises were directly acquired or maintained through racketeering

  activity.

          The Complaint alleges Defendants bribed Eguizabal to gain influence on

  Continental’s decision-making process. But it does not claim that Defendants gained any

  interest in Continental, or to control Continental’s decision-making process. Likewise,

  Plaintiffs do not assert Defendants acquired, maintained, or controlled entities like

  Westcore I, Westcore II, or Albertelli Team CCR through direct racketeering activity.

  Rather, Plaintiffs claim Defendants committed racketeering activities that either enabled

  the enterprises to be formed or that racketeering activities were committed through the

  enterprises once they were formed. That is not enough. And because Plaintiffs do not

  plausibly allege a violation of § 1962(b), they cannot plausibly allege that such a violation

  proximately caused their injuries. To the extent Count 1 alleges a § 1962(b) claim, it fails.

  B.      Civil Theft

          Count 4 alleges the Albertellis and ACI committed civil theft. In Florida, theft occurs

  where a person knowingly obtains or uses the property of another without legal

  entitlement and with the intent to deprive another of the right to that property. Fla. Stat.




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  § 812.014. Florida has provided a civil cause of action for persons injured by theft, which

  carries a penalty of “threefold the actual damages sustained . . . minimum damages in

  the amount of $200, and reasonable attorney’s fees and court costs in the trial and

  appellate courts.” Fla. Stat. § 772.11. Defendants argue Count 4 should be dismissed

  for two reasons.

         First, Defendants contend Count 4 must be dismissed because Plaintiffs were

  reimbursed by the bank for the joint checks that David purportedly deposited into ACI’s

  bank account. This is a standing issue. To have standing, a plaintiff must allege (1) an

  actual or imminent injury or a concrete “invasion of a legally protected interest,” (2)

  causation, and (3) redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).

  Here, Count 1 alleges that David and ACI deposited joint checks meant for subcontractors

  without the right to do so. (Doc. 117 at ¶¶ 182, 196, 205). In so doing, the Fort Myers

  and Rochester Projects suffered an invasion of a legally protected interest. Defendants

  cite no authority to suggest the court should look to recovery from a third-party when

  determining whether Plaintiffs have suffered an injury in fact. That type of recovery is

  typically addressed by the collateral source rule. See Muzuco v. Re$ubmitIt, LLC, 297

  F.R.D. 504, 512 (S.D. Fla. 2013). What matters here is David and ACI’s conduct.

  Allegations on that subject are strong enough to confer standing.

         Second, Defendants argue Count 4 should be dismissed because Plaintiffs failed

  to provide a written demand to George. Florida Statute 772.11 requires that “[b]efore

  filing an action for damages under this section, the person claiming injury must make a

  written demand for $200 or the treble damage amount of the person liable for damages

  under this section.” Id. Here, Plaintiffs argue, and the record substantiates, that such a




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  demand letter was sent to David and ACI for the return of the stolen joint checks deposited

  by David into ACI’s bank account. (Doc. 49-1 at 145-46). Plaintiffs claim they also

  provided sufficient notice to George because he was an owner of ACI and therefore he

  also had notice of the demand for return of the checks. But the language of Florida

  Statute 772.11 is clear. It requires that a demand for relief be made to each person liable

  for civil theft damages. ACI and George are separate persons under the law. While

  Plaintiffs addressed ACI’s potential liability through their demand letter, they did not

  address that of George.

         But Plaintiffs’ failure to supply George with a demand letter is not grounds for

  dismissal. As a threshold matter, the demand requirement in the statute is not substantive

  because it does not relate to the activities that give rise to the cause of action itself. It

  exists to “encourage negotiation and settlement prior to the commencement of litigation.”

  In re Tadlock, No. 3:09-BK-712-PMG, 2010 WL 8320065, at *5 (Bankr. M.D. Fla. Sept. 1,

  2010). Perhaps recognizing this finding, courts within this circuit have enforced the

  demand requirement leniently and have declined to dismiss nonconforming claims. See

  Inglis v. Wells Fargo Bank N.A., No. 2:14-CV-677-FTM-29CM, 2017 WL 637485, at *7

  (M.D. Fla. Feb. 16, 2017); Deman Data Sys., LLC v. Schessel, No. 8:12-CV-2580-T-24,

  2014 WL 6751195, at *23 (M.D. Fla. Dec. 1, 2014), amended on reconsideration, No.

  8:12-CV-2580-T-24, 2015 WL 58650 (M.D. Fla. Jan. 5, 2015). The Court agrees with this

  approach.7



  7 The Court recognizes a decision from the Southern District of Florida holding that
  “Florida law does not require a demand for the return of the money in order to state a
  cause of action for civil theft.” Century Sr. Servs. v. Consumer Health Ben. Ass’n, Inc.,
  770 F. Supp. 2d 1261, 1266 (S.D. Fla. 2011). But, in light of the relatively straightforward
  language of the statute, the Court declines to embrace that holding here.



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         By now, George has notice of the claim and no time machine exists to further the

  interests of pre-suit negotiation. Moreover, it stands to reason that because he is a partial

  owner of ACI, the policy interests (but not the strict letter) of the statute were satisfied by

  serving a demand on ACI prior to suit. For these reasons, the Court does not find the

  lack of strict statutory compliance grounds for dismissal. But in an abundance of caution,

  Plaintiffs will comply with the statute by serving a demand upon George within 10 days.

  Count 4 survives.

  C.     Common Law Fraud

         Count 5 alleges all Defendants are liable for common law fraud. In Florida, the

  elements of fraud are “(1) a false statement concerning a material fact; (2) the

  representor’s knowledge that the representation is false; (3) an intention that the

  representation induce another to act on it; and (4) consequent injury by the party acting

  in reliance on the representation.” Butler v. Yusem, 44 So. 3d 102, 105 (Fla. 2010). Fraud

  claims are subject to Rule 9(b). Fed. R. Civ. P. 9(b). Defendants argue Plaintiffs have

  not met this obligation as it relates to George and Butler. The Court disagrees.

         Count 5 is based on some of the same predicate acts the Court found plausibly

  alleged in Count 1. The Court finds that both Defendants’ roles are specifically alleged in

  the intentional preparation of incorrect payment applications on the Six Mile Project.

  (Doc. 117 at ¶¶ 12, 63, 78, 109, 121-125, 218, 249). The Third Amended Complaint also

  establishes that George and Butler expected Plaintiffs to rely on the applications because

  they requested payments from the Six Mile Fund, and that the Six Mile Fund was injured

  when the payments were disbursed and subcontractors later claimed they were owed

  additional funds. (Doc. 117 at ¶¶ 121-126, 128).




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         In addition, Count 5 plausibly alleges Butler played an active part in the theft of

  joint checks from the Six Mile and Rochester Funds by helping to prepare payment

  requests that ACI never intended to honor and by making numerous false representations

  regarding distributing said payments. (Doc. 117 at ¶¶ 189-91, 195, 199-200, 203-04, 206-

  207). Based on these representations the Fort Myers and Rochester Funds allegedly

  distributed payments in the form of joint checks and were injured when David deposited

  them into ACI’s bank account. (Doc. 117 at ¶¶ 196, 205, 208). Count 5, thus, passes

  muster.

  D.     Common Law Conspiracy to Commit Fraud

         Count 6 alleges all Defendants are liable for conspiracy to commit common law

  fraud. In Florida, the elements of a civil conspiracy are “(a) a conspiracy between two or

  more parties, (b) to do an unlawful act or to do a lawful act by unlawful means, (c) the

  doing of some overt act in pursuance of the conspiracy, and (d) damage to plaintiff as a

  result of the acts performed pursuant to the conspiracy.” Walters v. Blankenship, 931 So.

  2d 137, 140 (Fla. 5th DCA 2006).        Conspiracy claims must also meet Rule 9(b)’s

  heightened particularity requirements. Am. United Life Ins. Co. v. Martinez, 480 F.3d

  1043, 1065 (11th Cir. 2007).      Count 6 meets those requirements.        First, it alleges

  individual Defendants agreed to participate, and took part in certain specific unlawful acts

  including bribery, falsification of documents, the surreptitious use of sham contractors and

  self-dealing, and the theft of joint checks, which was to further the Scheme. (Doc. 117 at

  ¶¶ 52-54, 62, 116, 212, 214, 216, 218, 218, 224, 226, 228, 231, 234, 237, 239, 241, 243,

  245, 247, 249, 251, 319-320). It then alleges Defendants’ unlawful acts injured Plaintiffs

  in several ways. (Doc. 117 at ¶¶ 304, 309, 313, 316). Count 6, therefore, survives.




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  E.     Supplemental Jurisdiction

         Finally, Defendants argue that the Court should decline to exercise jurisdiction over

  the remaining state court claims. Under 28 U.S.C. § 1367(a) “in any civil action of which

  the district courts have original jurisdiction, the district courts shall have supplemental

  jurisdiction over all other claims that are so related to claims in the action within such

  original jurisdiction that they form part of the same case or controversy under Article III of

  the United States Constitution.” The Eleventh Circuit has found that “[w]henever a federal

  court has supplemental jurisdiction under section 1367(a), that jurisdiction should be

  exercised unless” a statutory exclusion applies. Parker v. Scrap Metal Processors, Inc.,

  468 F.3d 733, 743 (11th Cir. 2006). Here, Count 1 arises under the RICO Act, thereby

  providing the Court with original jurisdiction. All the other claims stem from the same set

  of operative facts, and no exceptions to subject matter jurisdiction apply. Defendants’

  argument fails.

         It is now

         ORDERED:

         1. Defendants Motions to Dismiss (Docs. 130; 135; 136; 137; 138) are DENIED

            in part.

         2. To the extent Count 1 alleges a violation of 18 U.S.C. § 1962(b), it is

            DISMISSED without prejudice.

         3. Defendants have fourteen (14) days to answer or otherwise respond to this

            action.

         4. Plaintiffs must serve a demand on George Albertelli under Florida Statute

            772.11 within ten (10) days of this Order.




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        DONE and ORDERED in Fort Myers, Florida this 11th day of June, 2018.




  Copies: All Parties of Record




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